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 8   AMERICAN FARM BUREAU FEDERATION, et al.
     (refer to signature page for complete list of parties represented)
 9

10                                 UNITED STATES DISTRICT COURT

11                              NORTHERN DISTRICT OF CALIFORNIA

12                                         OAKLAND DIVISION

13

14   STATE OF CALIFORNIA, et al.,                          Case No. 4:19-cv-06013-JST

15                          Plaintiffs,                    Related Case: No. 4:19-cv-05206-JST
                                                           Related Case: No. 4:19-cv-06812-JST
16          v.
                                                           INDUSTRY INTERVENORS’ NOTICE
17   BERNHARDT, et al.,                                    OF APPEAL [CORRECTED]

18                          Defendants,                    Date:          TBA
                                                           Time:          TBA
19                                                         Courtroom:     6, 2nd floor
     STATE OF ALABAMA, et al.                              Judge:         Hon. Jon S. Tigar
20

21                         Defendant-
                           Intervenors.
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                                                                                Case No. 4:19-cv-06013-JST
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 1                                       NOTICE OF APPEAL
 2          PLEASE TAKE NOTICE that the Industry Intervenors—American Farm Bureau
 3   Federation, American Forest Resource Council, American Petroleum Institute, Federal Forest
 4   Resource Coalition, National Alliance of Forest Owners, National Association of Home
 5   Builders, National Cattlemen’s Beef Association, and Public Lands Council—hereby appeal to
 6   the United States Court of Appeals for the Ninth Circuit from (1) this Court’s Order Granting
 7   Motion to Remand and Vacating Challenged Regulations, ECF No. 193, entered on July 5, 2022;
 8   and (2) this Court’s Final Judgment, ECF No. 194, entered on July 5, 2022. A representation
 9   statement is attached.
10          Respectfully submitted,
11
      DATED: July 22, 2022                         PAUL HASTINGS LLP
12

13
                                                   By:          /s/ Christopher J. Carr
14                                                       CHRISTOPHER J. CARR
15                                                       Attorneys for Industry Defendant-
                                                         Intervenors
16
                                                         AMERICAN FARM BUREAU
17                                                       FEDERATION; AMERICAN FOREST
                                                         RESOURCE COUNCIL; AMERICAN
18                                                       PETROLEUM INSTITUTE; FEDERAL
19                                                       FOREST RESOURCE COALITION;
                                                         NATIONAL ALLIANCE OF FOREST
20                                                       OWNERS; NATIONAL ASSOCIATION
                                                         OF HOME BUILDERS; NATIONAL
21                                                       CATTLEMEN’S BEEF ASSOCIATION;
                                                         and PUBLIC LANDS COUNCIL.
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 1          Pursuant to Federal Rule of Appellate Procedure 12(b) and Ninth Circuit Rule 3-2, Industry
 2   Intervenors—American Farm Bureau Federation, American Forest Resource Council, American
 3   Petroleum Institute, Federal Forest Resource Coalition, National Alliance of Forest Owners,
 4   National Association of Home Builders, National Cattlemen’s Beef Association, and Public Lands
 5   Council—hereby submit the following representation statement:
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16    National Association of Home Builders
      National Cattlemen’s Beef Association
17    Public Lands Council
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